                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                   No . 4: 15-CR-46-BO-1

UNITED STATES OF AMERICA                       )
                                               )
V.                                             )                      ORDER
                                               )
TERRY LAMONT SPELLER                           )


          This cause is before the Court on defendant's motion for compassionate release pursuant

to 18 U.S.C. § 3582(c)(l)(A). For the reasons that follow, the motion is denied .

                                          BACKGROUND

          On August 4, 2015 , defendant pleaded guilty to health care fraud and engaging in monetary


transactions involving criminally deprived property. On March 21 , 2016 , the Court sentenced him


to 120 months ' imprisonment on each count to be served consecutively, for a total prison term of


240 months. In May 2020, defendant fi led a motion for compassionate release pursuant to 18


U.S.C. § 3582(c)(l)(A). The government has responded in opposition and the motion is ripe for


disposition.


                                           DISCUSSION

          Subject to few exceptions, a sentence that has been imposed may not be modified. 18

U.S.C. § 3582(c) . One exception to this general rule is compassionate re lease. Prior to the passage

of the First Step Act on December 21 , 2018 , 1 the discretion to file a motion for compassionate

release under§ 3582(c)(l)(A) rested entirely with the Director of the BOP. Section 603 of the First




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    Pub . L. 115-391 , 132 Stat. 5194.



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Step Act amended 18 U.S.C . § 3582(c)(l)(A) to provide that a defendant may request

compassionate release from the sentencing court after exhausting his administrative remedies .

       Compassionate release may be available to defendants where (1) extraordinary and

compelling circumstances warrant a reduction in sentence or (2) a defendant who is serving a life

sentenced imposed pursuant to 18 U.S.C. § 3559(c) is at least seventy years old and has served at

least thirty years in prison. 18 U.S.C. §§ 3582(c)(l)(A)(i)-(ii). A reduction under either section

must be consistent with applicable policy statements issued by the United States Sentencing

Commission. Id. at (c )(1 )(A). The commentary to section 1B 1.13 of the United States Sentencing

Commission ' s advisory     Guidelines Manuel provides criteria for           determining    whether

extraordinary and compelling circumstances are present. U.S. S. G. § 1B 1.13, comment. n.1. These

criteria generally concern the age, medical condition, or family circumstances of the defendant.

       In addition to considering whether extraordinary and compelling circumstances are

present, a court must further consider the 18 U.S.C. § 3553(a) factors.

       Here, the § 3553(a) factors caution against relief. Defendant has served only about a quarter

of the sentence imposed on him . Defendant engaged in almost seven million dollars in fraud , and

his fraud supposedly continued while he was under investigation. He lied to investigators, refused

to provide records as part of the investigation, and ran a witness off the road and threatened to kill

that witness . The Court finds that the sentence imposed remains sufficient, but not greater than

necessary, to advance the goals of sentencing set forth in § 3553(a). Having reviewed the record

and considered the relevant factors, the Court concludes that relief under 18 U.S.C . §

3582(c)(l)(A) is not warranted .

                                          CONCLUSION

       Defendant ' s motion for compassionate release [DE 120] is DENIED.



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SO ORDERED, this   M   day of September, 2020.


                                     TE    NCE W. BOYLE
                                     CHIEF UNITED ST ATES DIST




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